 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 1 of 9 PageID# 4345




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

UNITED STATES OF AMERICA                  )
                                          )
        v.                                )             Case No. 1:14-CR-230-4
                                          )
FARHIA HASSAN,                            )
                                          )
        Defendant.                        )


        DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITAL AND
              TO DISMISS FOR LACK OF JURISDICTION

        The defendant, Farhia Hassan, by counsel, moves this Honorable Court for

Judgment of Acquittal under Fed. R. Crim. P. 29 and to dismiss for lack of

jurisdiction. In support of this motion, Ms. Hassan states as follows.

   I.        Legal standards

        The familiar standard for review of a defendant’s claim that the evidence is

insufficient to sustain the jury’s verdict of guilty is as follows: “the verdict of a jury

must be sustained if there is substantial evidence, taking the view most favorable to

the government, to support it.” Glasser v. United States, 315 U.S. 60, 80 (1942);

United States v. Steed, 674 F.2d 284, 286 (4th Cir.), cert. denied, 459 U.S. 829

(1982); United States v. Sherman, 421 F.2d 198, 199 (4th Cir.), cert. denied, 398 U.S.

914 (1970). However, the verdict should be set aside if the evidence still gives “equal

or nearly equal” support to a theory of guilt and a theory of innocence because, in

that event, a reasonable trier of fact “must necessarily” entertain reasonable doubt.

United States v. Santillana, 604 F.3d 192, 195 (5th Cir. 2010); see also United States

v. Glenn, 312 F.3d 58, 70 (2d Cir. 2002); United States v. Andujar, 49 F.3d 16, 20
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 2 of 9 PageID# 4346




(1st Cir. 1995); United States v. Wright, 835 F.2d 1245, 1249 (8th Cir. 1987); Cosby

v. Jones, 682 F.2d 1373, 1383 (11th Cir. 1982).

   The Constitution prohibits the criminal conviction of any person except upon

proof of guilt beyond a reasonable doubt. Jackson, 443 U.S. 307, 309 (1979). In that

respect, the Constitution protects a defendant in a criminal case against conviction

“except upon proof beyond a reasonable doubt of every fact necessary to constitute

the crime with which he is charged.” Id. at 315. A jury may occasionally convict

even when it can be said that no rational trier of fact could find guilt beyond a

reasonable doubt. See id. at 317. However, such an occurrence has traditionally

been deemed to require reversal of the conviction. Id. at 317.

      The critical inquiry on review of the sufficiency of the evidence to support a

criminal conviction must not simply be to determine whether the jury was properly

instructed, but instead to determine whether the record evidence could reasonably

support a finding of guilt beyond a reasonable doubt. Jackson v. Virginia, 443 U.S.

at 318. Courts can, and regularly do, gauge the sufficiency of the evidence without

intruding into any legitimate domain of the trier of fact. Id. at 321.

      With respect to jurisdiction, in United States v. Mohammad-Omar, 323 F.

App'x 259, 261 (4th Cir. 2009), the Fourth Circuit stated, “while Congress may

clearly express its intent to reach extraterritorial conduct, a due process analysis

must be undertaken to ensure the reach of Congress does not exceed its

constitutional grasp. Id. (citing United States v. Yousef, 327 F.3d 56 (2d Cir. 2003);

United States v. Davis, 905 F.2d 245, 248 (9th Cir. 1990). “To apply a federal



                                           2
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 3 of 9 PageID# 4347




criminal statute to a defendant extraterritorially without violating due process,

‘there must be a sufficient nexus between the defendant and the United States, so

that such application would not be arbitrary or fundamentally unfair.’” Id. (citing

Yousef, 327 F.3d at 111; Davis, 905 F.2d at 248-49); United States v. Shahani-

Jahromi, 286 F. Supp. 2d 723, 727-28 (E.D. Va. 2003). The Court explained that

“[t]he nexus requirement serves the same purpose as the minimum contacts test in

personal jurisdiction. It ensures that a United States court will assert jurisdiction

only over a defendant who should reasonably anticipate being haled into court in

this country. Id. (quoting United States v. Klimavicius-Viloria, 144 F.3d 1249, 1257

(9th Cir. 1998) (internal quotation marks and citation omitted)).

   II.      The evidence was insufficient to find that Ms. Hassan was a
            member of a conspiracy

         The evidence in this case showed that Ms. Hassan took independent action.

The evidence did not sufficiently establish that she was part of a common plan or

joint action, or that she formed a partnership with anyone. Instead, the evidence

showed that Ms. Hassan answered the call of a solicitor peddling the cause of al-

Shabaab and merely associated with others and discussed common goals, that there

was mere similarity of conduct between or among such persons, and that Ms.

Hassan was merely present in a few of the Paltalk chat room sessions. Therefore,

the evidence was insufficient to find Ms. Hassan guilty of conspiracy. See Jury

Instruction Nos. 29, 30.




                                           3
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 4 of 9 PageID# 4348




   III.   The evidence was insufficient to find that Ms. Hassan knew that
          al-Shabaab was a designated foreign terrorist organization or
          that it engaged in terrorist activity or terrorism.

      The parties stipulated that “[a]t all times leading up to, and throughout the

dates referenced in the indictment, Al-Shabaab was not designated as a terrorist

organization by the European Union or the Netherlands.” ECF No. 476. The

evidence was insufficient to show that Ms. Hassan, a Dutch citizen residing in the

Netherlands, knew that al-Shabaab was a designated foreign terrorist organization

or that it engaged in terrorist activity or terrorism. First, there was insufficient

evidence that Ms. Hassan knew she was pledging payments to al-Shabaab. The

government’s own cooperating witness, Amina Esse, testified that Jama and

Dhirane tricked her into visiting the pro-al Shabaab chat room, and further mislead

her into believing that her donations were truly being sent to help orphans. In fact,

she testified that the large majority of her payments were made when she believed

she was helping poor people or orphans. Because the government provided no actual

record of Ms. Hassan’s payments, and because there was no independent evidence

that Ms. Hassan was not also tricked, the evidence gives “equal or nearly equal”

support to a theory of guilt and a theory of innocence and the Court should enter a

Judgment of Acquittal. Santillana, 604 F.3d at 195.

      Second, even if there was evidence that Ms. Hassan knew her pledges were to

al-Shabaab, there was insufficient evidence that she knew that al-Shabaab was a

designated foreign terrorist organization or that it engaged in terrorist activity or

terrorism. Out of the hundreds of pages of transcripts produced in this case, there is



                                            4
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 5 of 9 PageID# 4349




only one transcript in which the government argues that Ms. Hassan was present

and any terrorist-type activity is discussed. See GEX 160-163. This transcript

represents a conference call with many individuals present and Special Agent

Weidenbenner testified that the call kept dropping throughout, explaining why the

one call constituted multiple exhibits. Ms. Hassan is not heard on this call except

for twice in GEX 160A. There was no evidence presented that Ms. Hassan was on

the other dropped portions of the call and none of the communication in GEX 160A

is about terrorism or terrorist activity. Therefore, GEX 160-163 cannot be a basis to

impute knowledge to Ms. Hassan. Further, given the testimony of Mr. Bryden –

that the Somali government and Ethiopian troops committed serious human rights

atrocities throughout Somalia – it cannot be expected that Ms. Hassan would know

that simply engaging in such violence constitutes “terrorist activity” or “terrorism”

as opposed to the general violence that was omni-present in Somalia for the past

two decades.

   IV.      The conviction violates Ms. Hassan’s rights under the First
            Amendment.

         The government insists that this case is about money and not any other type

of support, yet at the same time, in closing argument the government argued that

the crime was complete at the instance Ms. Hassan pledged to send money,

regardless of whether any money was ever sent. Criminalizing a person’s oral

pledge (or through a chatroom) with nothing else, criminalizes the freedom of

association and speech and violates the First Amendment. Therefore, a conviction

under 18 USC § 2339B is unconstitutional as-applied in this case. See Holder v.

                                           5
    Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 6 of 9 PageID# 4350




Humanitarian Law Project, 561 U.S. 1, 39 (2010) (aff’g Humanitarian Law Project

v. Reno, 205 F.3d 1130, 1133 (9th Cir. 2000)); United States v. Mehanna, No. 09-CR-

10017-GAO, Def.’s Mot. for Prelim. Instr. to the Jury (Oct. 26, 2011); see also United

States v. Hammoud, 381 F.3d 316, 329 (4th Cir. 2004), judgment vacated on other

grounds, 543 U.S. 1097 (2005).

      V.      The Court lacks jurisdiction.1

           Ms. Hassan adopts and incorporates all of her prior arguments on this issue.

see ECF Nos. 343, 351, including that: due process demands a “sufficient nexus”

between the defendant and the United States; the presumption is against

extraterritoriality – even if the defendant had some contact with the United States;

because Ms. Hassan is a foreign national abroad whose conduct occurred entirely

overseas, her conduct is not prohibited under § 2339B and making it criminal would

violate due process; jurisdiction over an offense that “occurs in or affects interstate

or foreign commerce,” as provided in § 2339B(d)(1)(E), does not encompass

commerce that occurs wholly outside the United States between foreign countries;

the object of the conspiracy is not a crime and therefore the government failed to

prove an “offense” under § 2339B at all; Section 2339B(d)(1)(F) is not so broad as to

expand the extraterritorial reach of the underlying statute for which the United

States would not otherwise have jurisdiction under both the due process clause as

well as under the statute itself; and there is no universal jurisdiction for material



1 To the extent that any of Ms. Hassan’s lack of jurisdiction arguments overlap with
judgment of acquittal under Rule 29, Ms. Hassan’s asks that they be applicable as
to both bases, supporting a judgment of acquittal and dismissal.
                                             6
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 7 of 9 PageID# 4351




support and U.S. law cannot proscribe wholly foreign support provided by non-U.S.

persons to al-Shabaab that is not intended to harm the United States or U.S.

citizens.

   The evidence at trial established the following facts:

   •   Ms. Hassan is a Dutch citizen residing in the Netherlands

   •   At all times leading up to, and throughout the dates referenced in the
       indictment, Al-Shabaab was not designated as a terrorist organization by the
       European Union or the Netherlands.

   •   Ms. Hassan has never entered the United States except when the FBI
       brought her here against her will.

   •   Any money Ms. Hassan may have sent to individuals in Africa never touched
       the United States

   •   Ms. Hassan never received any money from anyone in the United States.

   •   Al-Shabaab is an organization local to the horn of Africa with a domestic
       agenda, or at the very least, no agenda related to the United States.

       Each of these facts reinforces Ms. Hassan’s position with respect to the

Court’s lack of jurisdiction for the reasons stated in Ms. Hassan’s prior pleadings.

See ECF Nos. 343, 351.

       To the extent that the government now relies on “first brought” jurisdiction to

establish jurisdiction in this case, 18 U.S.C. § 2339B(d)(C) this violates the due

process clause for all of the same reasons, see ECF Nos. 343, 351, including that

there remains no sufficient nexus to the United States and the object of the

conspiracy is not a crime in the United States. See United States v. Brehm, 691 F.3d

547, 552 (4th Cir. 2012) (“Though a criminal statute having extraterritorial reach is

declared or conceded substantively valid under the Constitution, its enforcement in

                                           7
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 8 of 9 PageID# 4352




a particular instance must comport with due process. Some courts have, as a proxy

for due process, required a sufficient nexus between the defendant and the United

States, so that such application would not be arbitrary or fundamentally unfair.”)

(internal quotation marks omitted); United States v. Shahani Jahromi, 286 F. Supp.

2d 723, 727 (E.D. Va. 2003) (Ellis, J.)(“Congress may clearly express its intent to

reach extraterritorial conduct, but a due process analysis must be undertaken to

ensure that Congress’ reach does not exceed its constitutional grasp.”).

   VI.    Conclusion

   For all of these reasons, this Honorable Court should grant Ms. Hassan’s post-

trial Motion for Judgment of Acquittal as well as dismiss for lack of jurisdiction.

                                               Respectfully submitted,
                                               FARHIA HASSAN
                                               By Counsel

                                               __________/s/______________________
                                               Jessica Carmichael (VSB No. 78339)
                                               Yancey Ellis (VSB No. 70970)
                                               Carmichael Ellis & Brock, PLLC
                                               108 N. Alfred Street, 1st Floor
                                               Alexandria, VA 22314/(703) 684-7908
                                               jessica@carmichaellegal.com
                                               yancey@carmichaellegal.com




                                           8
 Case 1:14-cr-00230-AJT Document 496 Filed 05/16/22 Page 9 of 9 PageID# 4353




                           CERTIFICATE OF SERVICE

      I certify that on May 16, 2022, I filed the foregoing with the Clerk of the

Court for the Eastern District of Virginia, Alexandria Division using the CM/ECF

system, which will send a Notification of Electronic Filing (NEF) to all parties to

this action.



                                               ________/s/________________
                                               Jessica Carmichael




                                           9
